ORIGINAL

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA SEALED INDICTMENT

S4CRIM 140%

JONATHAN MOYNAHAN LARMORE,

Defendant.

COUNT ONE
(Fraud in Connection with a Tender Offer)

The Grand Jury charges:

Overview of the Fraudulent Tender Offer Scheme

1. From at least in or about October 2023 through in or about November 2023,
JONATHAN MOYNAHAN LARMORE, the defendant, perpetrated a scheme to use a false and
fraudulent tender offer to manipulate the stock price of We Work, Inc. (“WeWork”), a co-working
space company that was, at all times relevant to this Indictment, headquartered in New York, New
York and publicly traded on the New York Stock Exchange (“NYSE”).

2. JONATHAN MOYNAHAN LARMORE, the defendant, executed his scheme in
three steps. First, on or about October 6, 2023, LARMORE created Cole Capital Funds LLC (“Cole
Capital”), a purported real estate investment firm that was, in fact, a vehicle for his fraudulent
scheme. Second, on or about November 1, 2023, and November 2, 2023, LARMORE spent more
than $775,000 buying tens of thousands of cheap, short-dated, out-of-the-money WeWork call
options (the vast majority of which were set to expire on November 3, 2023, at 4:00 p.m. EDT)

and (because certain of LARMORE’s brokerage firms did not allow him to purchase options)

hundreds of thousands of shares of WeWork common stock.! Third, on or about November 3,
2023, LARMORE caused a false and misleading press release to be published announcing that
Cole Capital proposed to acquire 51% of all outstanding shares owned by minority shareholders
of WeWork at a more-than-700% premium, in an all-cash offer worth more than $77 million. At
the time, We Work was on the verge of coafikennttdy:

3. In fact, neither JONATHAN MOYNAHAN LARMORE, the defendant, nor Cole
Capital had the intent or ability to execute the announced tender offer. Instead, LARMORE
intended for news of the tender offer to fraudulently inflate WeWork’s share price and, thereby,
increase the value of LARMORE’s newly acquired WeWork call options and shares.

4. On or about November 3, 2023, at approximately 5:12 p.m. EDT, the press release
announcing Cole Capital’s purported tender was published. Within approximately one minute of
publication, in after-hours trading, WeWork’s share price quickly increased more than 70% from
$.85 to $1.45, and continued to rise until 5:31 p.m. EDT, when the stock reached its high of $2.14,
which was a more-than-150% increase over the stock price prior to the publication of the press
release. There was no other significant news related to WeWork announced between
approximately 5:12 p.m. EDT and approximately 5:31 p.m. EDT on or November 3, 2023, other

than the fake tender offer made by JONATHAN MOYNAHAN LARMORE, the defendant.

' Stock options contracts grant their owners the right—but not the obligation—to buy (for a call
option) or sell (for a put option) a certain number of shares, at a particular price (the “strike price”),
until or upon the expiration date of the contract. A call options contract is defined as “out of the
money” if it does not hold intrinsic value—i.e., if exercised, the owner would pay more than the
current market value for the stock. Accordingly, in sum and in effect, a purchaser of an out-of-
the-money call option is making a bet that the stock will go up in value, exceeding the strike price,
thereby allowing the owner of the option contract to realize as profit the difference in value of the
stock between the strike price and the market price when the option is exercised.
5. The WeWork call options purchased by JONATHAN MOYNAHAN LARMORE,
the defendant, could have made LARMORE millions of dollars if the news of LARMORE’s
fraudulent tender offer had caused WeWork’s share price to increase significantly before
LARMORE’s options expired. But LARMORE mistimed how long it would take to properly
format his press release and have it published. As a result of these delays, LARMORE’s fraudulent
press release was not published, and WeWork’s share price did not spike as a result, until
approximately 5:12. p.m. EDT on or about November 3, 2023—about an hour after the vast
majority of LARMORE’s WeWork call options had expired worthless at 4:00 p.m. EDT that day.
LARMORE did not exercise or sell his small amount of remaining WeWork options (which were
set to expire on or about November 10, 2023) because, while LARMORE’s fraudulent conduct
caused WeWork’s share price to rise by close to 150%, LARMORE?’s scheme did not inflate
WeWork’s share price above the strike price of his remaining options.

6. On or about November 6, 2023, WeWork filed for Chapter 11 bankruptcy
protection. On or about November 10, 2023, the remaining WeWork ganas purchased by
JONATHAN MOYNAHAN LARMORE, the defendant, expired out of the money and worthless.

LARMORE Creates Cole Capital

7. After the market closed on or about October 2, 2023, WeWork announced that it
had declined to make more than $95 million of interest payments to noteholders that were due that
day, fueling speculation that the company might be headed for bankruptcy. When trading resumed
on the morning of on or about October 3, 2023, WeWork’s stock plummeted more than 20%.

8. On or about October 6, 2023, JONATHAN MOYNAHAN LARMORE, the
defendant, formed and incorporated Cole Capital in the State of Arizona as a real estate and rental

and leasing business. LARMORE was listed with the Arizona Corporation Commission as Cole
Capital’s statutory agent, organizer, principal, and manager of the business, under the name “J.
Moynahan Larmore.”

9. Also on or about October 6, 2023, JONATHAN MOYNAHAN LARMORE, the
defendant, registered and launched a website for Cole Capital. According to the Cole Capital
website, Cole Capital—despite having been created on the same day as the website—“charges
ahead, introducing innovative investment strategies and providing access to best-of-class
investments .... We venture into various markets across the United States, securing investments
in properties and companies that are leaders in their fields.” LARMORE (without his first name,
as “Moynahan Larmore”) was listed on the Cole Capital website as the Chief Executive Officer of
Cole Capital. The website proclaimed that:

Chief Executive Officer Moynahan Larmore is an exceptional
industry leader with an unwavering commitment to excellence and
a passion for innovation. He demonstrates impressive growth and a
remarkable track record of large-scale deals and expanding
investment portfolios.

Larmore is a visionary leader in real estate investments. He and his
team have consistently delivered innovative and successful
strategies, earning respect and accolades within the industry.

The website did not disclose, however, that “Moynahan Larmore” was, in fact, LARMORE.

LARMORE Buys WeWork Call Options and Shares

10. After establishing Cole Capital, which had no genuine business operations,
JONATHAN MOYNAHAN LARMORE, the defendant, proceeded to fund multiple trading
accounts so that he could acquire WeWork call options. Between on or about October 18, 2023,
and on or about October 30, 2023, LARMORE opened trading accounts at five brokerages and
funded each account with $75,000, for a total of $375,000 (the brokerages, “Brokerages 1-5,” and

the accounts, “Trading Accounts 1-5”).
11. On or about October 30, 2023, JONATHAN MOYNAHAN LARMORE, the
defendant, contacted the support desk of a brokerage at which he had previously opened and
funded a trading account (“Brokerage-6” and “Trading Account-6”) to inquire about trading
options in his accounts. In response, a representative of Brokerage-6 emailed LARMORE an
options trading application and agreement and requested that LARMORE complete the agreement
and return it. In the morning of on or about October 31, 2023, LARMORE emailed back a
completed copy of the options trading application and agreement and asked Brokerage-6 to
“expedite approval as I have a confidential trade I would like to make tomorrow.”

12. After the market closed on or about October 31, 2023, a national news outlet first
reported that WeWork planned to file for bankruptcy as early as the following week. We Work’s
stock price plummeted on the news and, on or about November 1, 2023, it opened more than 40%
lower than the previous day’s closing price.

13. On or about November 1, 2023, JONATHAN MOYNAHAN LARMORE, the
defendant, funded an account at a seventh brokerage, which he had previously opened, with
$75,000 (“Brokerage-7,” collectively with Brokerages 1-6, the “Brokerages,” and “Trading
Account-7,” collectively with Trading Accounts 1-6, the “Trading Accounts”).

14. During recorded phone calls and email correspondence on or about November 1,
2023, and November 2, 2023, JONATHAN MOYNAHAN LARMORE, the defendant,
discussed—sometimes in aggressive or threatening terms—his pressing, urgent desire to buy
options with representatives of some of the Brokerages. For example:

a. Onor about November 1, 2023, a representative of Brokerage-1 called LARMORE
to discuss his newly Tinded account. During that call, LARMORE stated, “what I would like to

do is be able to buy options right now,” and “I am in front of my computer, I’m ready to buy.”
LARMORE noted that his attempts to buy options had been rejected, and he demanded that
Brokerage-1 either return the money in his trading account or approve him to buy options. When
told that it would take several days to return his money, LARMORE complained “that doesn’t do
me any good for this week” and threatened the representative by saying, “I don’t think you want
to be on the bad side of you improperly holding my money.” When asked if he had access to the
necessary options agreement, LARMORE retorted, “No, I’m on my yacht and don’t have a
printer.”

b. Later on the November 1, 2023 recorded call with the Brokerage-1 representative,
LARMORE accused Brokerage-1 of “hijacking and stealing” his money and threatened to sue
Brokerage-1. Eventually, LARMORE agreed to complete the options agreement while on the
phone with the representative. While doing so, LARMORE asked, “Do you have any other stupid
rules like you can only have so many contracts or you can only buy 20 at a time or anything else
that I’m not aware of?” In poanoree, the Brokerage-1 representative stated that the largest single
order quantity was 2,000 contracts. LARMORE then asked, “But I can do several 2,000s?” and
was told that he could.

c. After completing the options agreement and emailing it to the Brokerage-1
representative, on or about November 1, 2023, LARMORE placed an order for 2,000 WeWork
call options while the Brokerage-1 representative was still on the phone. The next day, on or about
November 2, 2023, LARMORE pickasd another 11,376 WeWork call options using Trading
Account-1 at Brokerage-1 in five increments of 2,000 contracts each and in three smaller
increments.

d. On or about November 2, 2023, LARMORE called a trading desk of Brokerage-2.

During the call, LARMORE told the trader, “I want you to buy a bunch of options for me,” but
was advised that his account had not yet been approved for options trading. LARMORE
complained that, “It’s 1:42 and the options expire tomorrow.” Frustrated with his inability to buy
options, LARMORE directed the trader to buy $75,000 worth of WeWork stock instead.
LARMORE then explained, “What I had wanted to buy was $75,000 worth of options that are
expiring tomorrow that are trading at five cents per contract per share.” LARMORE then claimed
that was “the cost” of Brokerage-2’s “screwup” in not approving him for options trading.

e. Later during the November 2, 2023 recorded call between LARMORE and the
Brokerage-2 trader, the trader purchased 65,789 shares of WeWork stock for LARMORE, at
LARMORE’s direction. After the trade was placed, LARMORE continued to complain about his
account not having been approved to trade options. LARMORE stated: “When this stock goes
through the roof the liability of your back office for this mistake is huge.” LARMORE did, in fact,
believe that the price of WeWork’s stock would “go through the roof,” notwithstanding the stock’s
recent poor performance and reports that We Work was nearing bankruptcy, because LARMORE
had intended to announce the next day a false and fraudulent tender offer for WeStock stock that
was designed to fraudulently inflate WeWork’s share price.

f. Inthe early morning hours of on or about November 2, 2023, LARMORE emailed
a gomplisnée officer at Brokerage-6, which still had not approved LARMORE for options nadting
in Trading Account-6, and stated:

I must have access to my funds to either trade them, or to place them
in another institution to trade. I am in the middle of a very important
acquisition, you withholding my funds, and my ability to trade them
is going to have significant consequences.

I must hear back from you this morning, long before opening bell of
the exchanges, so that this can be rectified immediately[.]

Much damage has already been done. Need to buy options FIRST
THING THIS MORNING[.]

In response, LARMORE received an automatic, out-of-office reply from the compliance officer,
indicating that the officer would be returning to the office on Monday November 6, 2023.
LARMORE forwarded that response to a support team email address at Brokerage-6, stating:
“THIS NEEDS IMMEDIATE ATTENTION[.] MUST BE RECTIFIED BEFORE OPENING
BELL OF NYSE.” The compliance officer responded, in substance, that, because the funds in
Trading Account-6 were serving as collateral for a loan, LARMORE could not use the funds to
trade options without the lender’s consent. LARMORE fired back, “you must allow me to trade.
What you are doing is criminal[.]” LARMORE was then told by a Brokerage-6 representative that
“Option trading is a privilege, not a right, and option trading is a privilege we typically do not
grant accounts that are being used for collateral.” Unable to use Trading Account-6 to buy options,
LARMORE instead used Trading Account-6 to buy 277,852 shares of WeWork stock for more
than $311,000.

15. Despite the difficulties described above, on or about November 1, 2023, and
November 2, 2023, JONATHAN MOYNAHAN LARMORE, the defendant, was able to use five
of the Trading Accounts to purchase 72,846 cheap, short-dated, out-of-the money We Work call
option contracts, which gave him the right to purchase 7,284,600 shares of WeWork common
stock. Most of these options (more than 70,000) were set to expire on November 3, 2023, at 4:00
p.m. EDT. The small number of remaining options were set to expire on November 10, 2023, at
4:00 p.m. EDT. The options cost between 3 and 15 cents per contract share, had strike prices
between $2 and $5, and were all “out of the money” when LARMORE Scebneed them.” By buying

these options, LARMORE was betting that WeWork’s share price would increase significantly

2 On or about November 1, 2023, WeWork shares opened at $1.28, hit a high of $1.28, and closed
at $1.22. On or about November 2, 2023, WeWork shares opened at $1.23, hit a high of $1.28, and
closed at $1.11.

within as soon as one day. LARMORE placed that bet because he intended to announce a fake
tender offer for WeWork shares the next day, which, he intended, would fraudulently inflate
WeWork’s share price.

16. In additian to buying WeWork call options, because two of the Brokerages did not
authorize him to buy options, JONATHAN MOYNAHAN LARMORE, the defendant, purchased
a total of 343,641 shares of We Work stock. In total, on or about November 1, 2023, and November
2, 2023, LARMORE spent more than $775,000 buying WeWork call options and shares.

LARMORE Announces a False and Fraudulent Tender Offer for WeWork Stock

17. After amassing a huge amount of WeWork securities in just two days, JONATHAN
MOYNAHAN LARMORE, the defendant, announced, on or about November 3, 2023, a false and
fraudulent tender offer by Cole Capital to acquire 51% of all outstanding shares owned by minority
shareholders of We Work at a massive premium, a transaction which neither LARMORE nor Cole
Capital had the intent or ability to consummate. Instead, LARMORE intended for his false and .
misleading November 3, 2023, announcement to manipulate the price of WeWork stock and to
fraudulently drive up the value of the WeWork call options and shares that LARMORE had
purchased in the two days before the fraudulent announcement.

18. On or about November 3, 2023, JONATHAN MOYNAHAN LARMORE, the
defendant, created an account with a press release distribution service (the “Wire Service”), paid
the Wire Service $999 with his credit card for press release distribution services, and shortly
thereafter created a draft press release.

19. On the moming of on or about November 3, 2023, JONATHAN MOYNAHAN
LARMORE, the defendant, sent an email to a WeWork investor relations email address and to a

New York, New York-based We Work investor relations employee. The subject line of the email

was “Letter to the Board” and the body of the email said, “Please see attached I look forward to
hearing from you.” Attached was a two-page letter addressed to the We Work Board of Directors
and Chief Executive Officer at WeWork’s Manhattan headquarters and signed by “Moynahan
Larmore, CEO, Cole Capital Funds, LLC” (the “Letter to the Board of Directors”). The Letter to
the Board of Directors began: .
Dear [CEO of WeWork],

We believe that it is in the best interest of WeWork to support our

acquisition of 51% of all the outstanding shares owned by minority

shareholders at a price of $9.00 per share and provide Cole with

proper representation on the company board.

We have received feedback from [Bank-1] and [Brokerage-2]

regarding the financing for this acquisition and expect to select a

lender and have a financing commitment prior to execution of a

definitive agreement.

We have consulted with God, legal, financial and other advisors to
assist us with this transaction. We stand ready to proceed timely.

20. The $9.00 per share price contained in the Letter to the Board of Directors
represented a premium of more than $7.89 (more than 700%) over WeWork’s closing price of
$1.11 per share on or about November 2, 2023. At $9.00 per share price, it would have cost
approximately $77 million to acquire 51% of all the outstanding shares owned by minority
shareholders of WeWork.

as After sending the Letter to the Board of Directors, on or about November 3, 2023,
JONATHAN MOYNAHAN LARMORE, the defendant, sent an email to a Securities and

Exchange Commission (“SEC”) email address with the subject line “WeWork Schedule TO.”? In

3 A Schedule TO is a form required to be filed with the SEC by a person who intends to make a
tender offer for the purchase of securities of a public company, where the tender offer would result
in the purchaser acquiring more than 5% of a class of securities issued by that public company.
See 17 C.F.R. § 240.14d-100.

10

the document identified as a Schedule TO attached to the email, LARMORE included a press
release titled “Cole Capital Funds, LLC Proposes to Acquire 51% of all minority ownership shares
of WeWork, Inc. for $9.00 per Share in Cash.” The press release in the purported WeWork
Schedule TO included the text of the Letter to the Board of Directors.

22. Thereafter, on or about November 3, 2023, JONATHAN MOYNAHAN
LARMORE, the defendant, submitted a draft press release to the Wire Service. That morning,
LARMORE called the Wire Service to inquire about the status of his press release. While on the
call, which was recorded, LARMORE received an email from the Wire Service, stating that his
draft press release was not in the proper format and that LARMORE needed to reformat and re-
submit the press release for editorial approval. LARMORE then told the Wire Service
representative on the phone, “since it is a legal document it has to go out in a certain form” and
that “due to the nature of it being a tender offer it needs to go in the form that I sent it.” The Wire
Service representative advised LARMORE to reach out directly to the editorial department to
discuss the format. LARMORE then asked to be transferred to someone in that department
“because this is very time sensitive.” When told that he should contact the editorial department by
email, LARMORE reiterated that “this is very time sensitive such that it has {6 do with the stock.”
The Wire Service representative then agreed to escalate the matter to a supervisor.

23. About an hour later, on or about November 3, 2023, a supervisor at the Wire Service
called JONATHAN MOYNAHAN LARMORE, the defendant. During the call, which was
recorded, LARMORE reiterated that the press release “needs to get out right now.” The supervisor
then instructed LARMORE to rework the draft in a typical press release format. LARMORE

reiterated again: “This is time sensitive.”

11

24. On or about November 3, 2023, at approximately 12:00 p.m. EDT, JONATHAN
MOYNAHAN LARMORE, the defendant, resubmitted another draft press release to the Wire
Service, which was approved by the Wire Service and distributed to various outlets about 25
minutes later. News outlets did not begin publishing the press release, however, for several hours.

25. Inthe meantime, on or about November 3, 2023, at approximately 4:00 p.m. EDT,
WeWork’s share price closed at $0.83 per share. At that point, the options purchased by
JONATHAN MOYNAHAN LARMORE, the defendant, with a November 3, 2023 expiration date
(more than 70,000 of his 72,846 options), on which he had spent approximately $375,000 for the
ability to purchase more than 7 million shares of WeWork stock, expired, still out of the money
and worthless.

26. On or about November 3, 2023, at approximately 5:12 p.m. EDT, outlets began
publishing a press release distributed by the Wire Service titled, “A Proposal by Cole Capital Funds
Seeks to Acquire 51% of all minority ownership shares of WeWork, Inc. for $9.00 per share in
Cash” (the “Press Release”). The Press Release stated, among other things:

Cole Capital Funds sent the following letter to the Board of
Directors of WeWork, Inc.

We believe that it is in the best interest of WeWork to support our
acquisition of 51% of all the outstanding shares owned by minority
shareholders at a price of $9.00 per share and provide Cole with
proper representation on the company board.

We have received feedback from [Bank-1] and [Brokerage-2]
regarding the financing for this acquisition and expect to select a
lender and have a financing commitment prior to execution of a
definitive agreement.

We have consulted with God, legal, financial and other advisors to
assist us with this transaction. We stand ready to proceed timely.

12

Cole Capital Funds, LLC www.colecapitalfunds.com is an

investment company headquartered in Phoenix Arizona. Cole

focuses on investing in, and acquiring companies and properties

where significant shareholder value can be realized due to

undervalued share price as a result of slow development progress,

management issues, or outside share pressure... .
The Press Release did not disclose that neither Cole Capital nor JONATHAN MOYNAHAN
LARMORE, the defendant, had the intent or ability to consummate the announced tender offer,
that Cole Capital was a company with no business operations that LARMORE had created only
four weeks before the publication of the Press Release, that LARMORE was the CEO and principal
of Cole Capital, or that LARMORE had purchased a significant block of We Work securities in the
two days before the publication of the Press Release.

27. The Press Release contained false and misleading statements. For example, the
statement in the Press Release, “We have received feedback from [Bank-1] and [Brokerage-2]
regarding the financing for this acquisition and expect to select a lender and have a financing
commitment prior to execution of a definitive agreement,” was false and misleading. In fact,
JONATHAN MOYNAHAN LARMORE, the defendant, had received no such “feedback” and did
not expect to have a financing commitment prior to execution of a definitive agreement for the $77
million transaction announced in the Press Release.

a. As to Bank-1, LARMORE was a delinquent lending customer. As of on or about
October 15, 2023, LARMORE owed Bank-1 more than $5.2 million in outstanding principal on
two loans and owed Bank-1 overdue payments on both.

b. As to Brokerage-2, LARMORE communicated with an investment advisor at a
Brokerage-2 retail branch (the “Retail Advisor”) in connection with LARMORE’s opening of

Trading Account-2. On or about October 27, 2023, LARMORE emailed the Retail Advisor and

asked, “If I have $100 Million of NYSE traded stock in the account how much can you lend on

13

it?” In responses on or about October 30, 2023, and October 31, 2023, the Retail Advisor
responded, in substance, that Brokerave2 could lend at 50% of NYSE-listed securities at a
specified rate, but that Brokerage-2 would need to examine a list of LARMORE’s proposed assets.
LARMORE never provided such a list and never mentioned to the Retail Advisor that either he or
Cole Capital were planning any kind of tender offer for WeWork stock, let alone the $77 million
transaction contemplated by the Press Release.

28. Within one minute of the Press Release’s publication on or about November 3,
2023, at aovcadenately 5:12 p.m. EDT, WeWork’s stock price jumped in after-hours trading from
$.85 to $1.45 ahd continued to rise, reaching a high of $2.14 at approximately 5:31 p.m. EDT on
or about November 3, 2023. Later that evening, outlets began rescinding the Press Release.
WeWork’s stock price declined and closed at $1.18 at the end of after-hours trading at 8:00 p.m.
EDT on or about November 3, 2023.

29. On or about November 6, 2023, WeWork filed for Chapter 11 bankruptcy
protection and the trading of its shares was suspended on the NYSE.

30. | Onor about November 10, 2023, the remaining We Work call options purchased by
JONATHAN MOYNAHAN LARMORE, the defendant, expired out of the money and worthless.

Statutory Allegations

31. | Fromat least in or about October 2023 through in or about November 2023, in the

Southern District of New York and elsewhere, JONATHAN MOYNAHAN LARMORE, the

defendant, willfully and knowingly, directly and indirectly, made an untrue statement of a material

fact and omitted a material fact necessary in order to make the statements made, in the light of the
circumstances under which they were made, not misleading, and engaged in a fraudulent,

deceptive, and manipulative act and practice, in connection with a tender offer and request and

14
invitation for tenders, in violation of Title 17, Code of Federal Regulations, Section 240.14e-8, by
publicly announcing that LARMORE and a party on whose behalf he was acting planned to make
a tender offer that had not yet been commenced and (a) made the announcement of the potenitial
tender offer without fhe intention to commence the offer within a reasonable time and complete
the offer; (b) intended, directly and indirectly, for the announcement to manipulate the market
price of the stock of the subject company; and (c) did not have the reasonable belief that he would
have the means to purchase securities to complete the offer, to wit, LARMORE caused a press
release to be published and distributed by the Wire Service in which LARMORE falsely stated
that Cole Capital was making a tender offer for WeWork stock, when, in truth and in fact,
LARMORE knew that Cole Capital could not and did not intend to complete the tender offer and
instead intended for the announcement to manipulate the market price of the stock of WeWork
and, thereby, increase the value of WeWork securities that LARMORE had acquired.

(Title 15, United States Code, Sections 78n(e) and 78ff; Title 17, Code of Federal Regulations,
Section 240.14e-8(a), (b), (c), and Title 18, United States Code, Section 2.)

COUNT TWO
(Securities Fraud)

The Grand Jury further charges:

32. The allegations contained in paragraphs 1 through 30 of this Indictment are
repeated and realleged as if fully set forth herein.

33. From at least in or about October 2023 through in or about November 2023, in the
Southern District of New York and elsewhere, JONATHAN MOYNAHAN LARMORE, the
defendant, willfully and knowingly, directly and indirectly, by use of a means and an

‘instrumentality of interstate commerce and of the mails, and of a facility of a national securities

exchange, used and employed, in connection with the purchase and sale of a security, a

15

manipulative and deceptive device and contrivance, in violation of Title 17, Code of Federal
Regulations, Section 240.10b-5, by: (a) employing a device, scheme, and artifice to fiefrand: (b)
making an untrue statement of a material fact and omitting to state a material fact necessary in
order to make the statements made, in the light of the circumstances under which they were made,
not misleading; and (c) engaging in an act, practice, and course of business which operated and
would operate as a fraud and deceit upon a person, to wit, LARMORE engaged in a scheme to
announce a false and fraudulent tender offer for WeWork securities in order to cause others to
purchase WeWork securities and to sell his own WeWork shares and options at inflated prices.

(Title 15, United States Code, Sections 78j(b) and 78ff; Title 17, Code of Federal Regulations,
Section 240.10b-5; and Title 18, United States Code, Section 2.)

FORFEITURE ALLEGATIONS

34. Asa result of committing the offenses alleged in Counts One and Two of this
Indictment, JONATHAN MOYNAHAN LARMORE, the defendant, shall forfeit to the United
States, pursuant to Title 18, United States Code, Section 981(a)(1)(C), and Title 28, United States
Code, Section 2461(c), all property, real and personal, that constitutes or is derived from proceeds
traceable to the commission of said offenses, including but not limited to a sum of money in United
States currency representing the amount of proceeds traceable to the commission of said offenses.

35.  Ifany of the above-described forfeitable property, as a result of any act or omission
of the defendant:

a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

16

e. has been commingled with other property which cannot be divided without
difficulty;
it is the intent of the United States, pursuant to Title 21, United States Code, Section 853(p), and
Title 28, United States Code Section 2461(c), to seek forfeiture of any other property of the
defendant up to the value of the forfeitable property described above.
(Title 18, United States Code, Section 981;

Title 21, United States Code, Section 853;
Title 28, United States Code, Section 2461.)

Canny) PR Ln»

/ FQREPERSON DAMIAN WILLIAMS
United States Attorney
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17

